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                                        October 27, 2023

VIA ECF
The Honorable J. Brendan Day, U.S.M.J.
United States District Court
District of New Jersey
Clarkson S. Fisher Federal Building & U.S. Courthouse
402 East State Street
Trenton, NJ 08608

               Re:    Edible IP, LLC et al v. World Media Group, LLC
                      Case No. 3:20-cv-19178-MAS-JBD
                      Joint Status Letter

Dear Magistrate Judge Day:

       This firm represents Defendant World Media Group, LLC in the above-referenced action.
We write jointly with newly appointed counsel for Plaintiffs to provide a status update as directed
in Your Honor’s Order of August 21, 2023. Counsel for Plaintiffs reviewed this letter prior to its
submission.
        Discovery has not progressed since the status conference before Your Honor that took place
on July 31, 2023. The parties initially continued settlement discussions. On August 10, 2023,
Defendant provided a revised proposed settlement agreement to Plaintiffs’ counsel. Defendant has
not received a response.
        On September 26, 2023, Defendant sent email correspondence to Plaintiffs’ counsel
identifying the remaining depositions Defendant wished to take, and requesting available dates
within the months of October and November. Having not received a response, on October 9, 2023,
Defendant sent formal Notices of Deposition to counsel for Plaintiff. On October 19, 2023,
Defendant received email correspondence from Mr. Wiech stating that the BakerHostetler firm
would be entering an appearance on behalf of Plaintiffs and requesting a discussion the following
week. Discussion of the history of settlement negotiations and discovery occurred between
Defendant’s counsel and newly appointed counsel for Plaintiffs on October 25, 2023.




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       As newly appointed counsel for Plaintiffs, BakerHostetler, specifically Jason S. Oliver and
Christopher A. Wiech, intend to request a modest extension of the remaining fact discovery period.
Messrs. Oliver and Wiech, respectively, will be entering an appearance and moving for admission
pro hac vice. Plaintiffs’ counsel are asking for approximately two additional months, until
January 19, 2024, to familiarize themselves with the facts and circumstances of the case and to
work with Defendants’ counsel to resolve all outstanding discovery issues and complete all
remaining discovery. Plaintiffs do not seek additional time to delay this case, but rather for their
new counsel to adequately prepare so that they can expeditiously move this case along to a litigated
conclusion.

          We thank the Court for its continued assistance with this matter.


                                                Respectfully submitted,

                                                LERNER DAVID LLP
                                                Attorneys for Defendant/Counterclaim
                                                Plaintiff World Media Group, LLC



                                                By:
                                                       Gregg A. Paradise


cc:       All counsel of record (via ECF service)




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